           Case 1:13-cr-00109-LJO-SKO Document 139 Filed 01/07/14 Page 1 of 2

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:13-CR-00109-LJO-SKO

12                                Plaintiff,             PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   SERGIO PATRICK RODRIGUEZ and
     JENNIFER LORRAINE COLEMAN,
15
                                  Defendants.
16

17          Based upon the guilty verdict entered December 19, 2013, against defendants Sergio Patrick

18 Rodriguez and Jennifer Lorraine Coleman, it is hereby ORDERED, ADJUDGED AND DECREED as

19 follows:

20          1.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 981(a)(1)(G), and 28 U.S.C. § 2461(c),

21 defendants Sergio Patrick Rodriguez and Jennifer Lorraine Coleman’s interest in the following property

22 shall be condemned and forfeited to the United States of America, to be disposed of according to law:

23                  a. One laser pointer capable of emitting a green laser and labeled as a Class III laser

24                     product with a danger warning.

25          2.      The above-listed asset constitutes property derived from proceeds traceable to a

26 violation of 18 U.S.C. §§ 32(a)(5) and 32(a)(8) or is property acquired or maintained by the defendants
27 with the intent and for the purpose of supporting, planning, conducting, or concealing any Federal

28 crime of terrorism (as defined in section 2332b(g)(5) against the United States, citizens or resident of


      PRELIMINARY ORDER OF FORFEITURE                    1
           Case 1:13-cr-00109-LJO-SKO Document 139 Filed 01/07/14 Page 2 of 2

 1 the United States, or their property).
 2          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 3 seize the above-listed property. The aforementioned property shall be seized and held by the United

 4 States Marshals Service of the Federal Bureau of Investigation in its secure custody and control.

 5          4.      a.      Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and Local

 6 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and

 7 notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as

 8 the Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

 9 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

10 provide direct written notice to any person known to have alleged an interest in the property that is the

11 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

12                  b.      This notice shall state that any person, other than the defendant, asserting a legal

13 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

14 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

15 within thirty (30) days from receipt of direct written notice, whichever is earlier.

16          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

17 Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C), 981(a)(1)(G), and

18 28 U.S.C. § 2461(c), in which all interests will be addressed.

19
     IT IS SO ORDERED.
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21      Dated:     January 7, 2014                              /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
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       PRELIMINARY ORDER OF FORFEITURE                      2
